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The

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of Appeals

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Sixth
Appellate District of Texas at Texarkana

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; ______________________________

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; CHRISTOPHER CASTLEBERRY,
Appellant

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; NEW HAMPSHIRE INSURANCE COMPANY, Appellee

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Court No. 24,603

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Carter and Moseley, JJ.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Memorandum Opinion by Justice Carter








&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; MEMORANDUM OPINION

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Christopher
Castleberry, acting pro se, has appealed from the dismissal with prejudice of
his case attacking a review of an administrative proceeding involving the scope
of his award for a work-related injury. 

I.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Factual and
Procedural Background 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Castleberry
sustained back injuries on January 20, 2009, which were compensable and for
which he received worker’s compensation benefits.&nbsp; His prescribed medications were for
depression, chronic pain syndrome, chronic myofascial
pain, and for erectile dysfunction.&nbsp; The
insurer, New Hampshire Insurance Company, eventually contested the
applicability of these medications, and the Division of Workers’ Compensation Review
Board held that the compensable injury did not extend to or include these
ailments and that Castleberry was therefore not entitled to reimbursement for
those medications.&nbsp; See Tex. Lab. Code Ann.
§ 410.251 (West 2006).&nbsp; Castleberry
sought a judicial review of those rulings.&nbsp;


&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; New
Hampshire filed a plea to the jurisdiction in the district court on May 31,
2011.&nbsp; In that plea, it was alleged that
because Castleberry had not requested specific relief for the underlying ruling
on depression, chronic pain syndrome, or myofascial
pain syndrome, the trial court had no jurisdiction to consider them.&nbsp; New Hampshire further argued that Castleberry
had exhausted his administrative remedies only as to the ruling denying
recovery for erectile dysfunction.&nbsp; Thus,
New Hampshire asked the trial court to “recognize and limit the issues . . .
and hold the Plaintiff failed to exhaust his administrative remedies or seek
judicial review for any alleged injuries (other than erectile dysfunction).” &nbsp;The trial court granted the plea and ordered
the entirety of the suit dismissed with prejudice.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Castleberry
appeared pro se both at the trial court and here.&nbsp; His brief states that he appeals the judgment,
which granted a plea to the jurisdiction and dismissal of his case. &nbsp;He states that he was injured January 20, 2009,
by falling from an oil rig truck and sustained a compensable injury, but in
November 2010 New Hampshire ceased paying for some prescription medications.&nbsp; He requests this Court overturn the trial
court’s decision and require New Hampshire to continue to pay for his
medication as prescribed by the “accredited worker’s compensation physician Dr.
Tom Mayer.”&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; New
Hampshire argues that Castleberry’s brief is inadequate.&nbsp; We conclude the brief fairly apprises this
Court and New Hampshire of Castleberry’s claim that the trial court improperly
granted the company’s plea to the jurisdiction and further urges this Court to “overturn
the decision” and rule that the company should pay for “reimbursements of
medications.”&nbsp; 

II.&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Plea to the
Jurisdiction

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; New
Hampshire labeled its pleading as a plea to the jurisdiction and added the term
“special exceptions.”&nbsp; The relief sought,
however, was jurisdictional in nature pursuant to Section 410.302(b) of the
Texas Labor Code, which provides:

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; (b)&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; A
trial under this subchapter is limited to issues decided by the appeals panel
and on which judicial review is sought.&nbsp;
The pleadings must specifically set forth the determinations of the
appeals panel by which the party is aggrieved.

&nbsp;

Tex. Lab.
Code Ann. § 410.302(b) (West 2006).&nbsp; The
statute limits the nature of the remedies that can be considered by the
reviewing court and has been consistently analyzed as limiting the reviewing
court’s jurisdiction to consider specific matters only as described by the
statute.&nbsp; See Tex. Builders Ins. Co. v. Molder, 311 S.W.3d 513, 518 (Tex. App.—El&nbsp;Paso 2009, no pet.).&nbsp; Thus, it was proper for the trial court to
limit its consideration to issues specifically set forth by Castleberry’s
appeal.&nbsp; Castleberry’s appeal of the
administrative determination only specifically asserted New Hampshire’s
liability for his medication for erectile dysfunction.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; The
plea to the jurisdiction asserted that Castleberry had not properly raised
issues concerning the pain medications and, therefore, the trial court had no
jurisdiction on those claims; it was never asserted that the trial court had no
jurisdiction for the erectile dysfunction medication.&nbsp; 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; This
case involves an appeal from a plea to the jurisdiction; unless it is clear
from the pleadings that the court does not have jurisdiction over the
controversy, the court should retain the case.&nbsp;
See Peek v. Equip. Serv. Co. of
San Antonio, 779 S.W.2d 802, 804 (Tex. 1989).&nbsp; Whether New Hampshire was liable for
Castleberry’s erectile dysfunction medication was specifically pled and the
trial court had jurisdiction to determine that issue.&nbsp; See
State Office of Risk Mgmt. v. Rodriguez,
No. 08-10-00278-CV, 2011 WL 3792818, *5 (Tex. App.—El Paso Aug. 26, 2011, pet.
filed).&nbsp; The trial court’s ruling
improperly disposed of the entirety of the case, including the matter that the
company had agreed was properly before the court, even though the defendant had
not requested that relief.

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; New
Hampshire prayed only that the subject matter considered by the trial court
should be limited to the matters specifically raised in Castleberry’s
pleading.&nbsp; The dismissal of the entire
case constitutes a final and appealable judgment, but one that is
erroneous.&nbsp; We, therefore, must reverse
the judgment concerning New Hampshire’s liability for the erectile dysfunction
medication. 

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; We
affirm that part of the judgment dismissing the claims for depression, chronic
pain syndrome, or myofascial pain syndrome.&nbsp; We reverse the judgment as it pertains to the
claim for medication for erectile dysfunction and remand for further
proceedings consistent with this opinion. 

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&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Jack
Carter

&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Justice

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Date Submitted:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; January 6, 2012

Date Decided:&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; January 13, 2012

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